Case 1:21-cv-00091-RGA Document 275 Filed 01/26/24 Page 1 of 2 PageID #: 17053



 COOCH AND TAYLOR
    ATTORNEYS ♦ A PROFESSIONAL ASSOCIATION                                    Blake A. Bennett
                                                                                      Director
                                                                                  302.984.3889
                                                                      bbennett@coochtaylor.com


                                         January 26, 2024


VIA ELECTRONIC FILING
The Honorable Richard G. Andrews
United States District Court for the
District of Delaware
844 N. King Street, Unit 9, Room 6325
Wilmington, DE 19801

       RE:     MHL Custom, Inc. v. Waydoo USA, Inc. et al,
               Case No: 1:21-cv-00091-RGA

Dear Judge Andrews:

        We wanted to briefly respond on Plaintiff’s behalf to Ms. Farnan’s letter (D.I. 274)
setting forth Defendants’ request for an extension of time to file a response to Plaintiff’s recent
motion for a permanent injunction (D.I. 272). Plaintiff generally objects to further extensions of
deadlines in this case in light of the urgency of the request for relief set forth Plaintiff’s motion
for a permanent injunction. Defendants continue to disregard the orders of this Court and refuse
to cooperate in the post-trial process. Defendants continue to sell infringing products in the
United States and refuse to account to Plaintiff for those sales or even discuss an ongoing
royalty. Further delays will result in prejudice to Plaintiff in that unless and until the Court
intervenes and rules on Plaintiff’s present motion, Defendants’ actions will continue, which will
ultimately result in Plaintiff suffering lost sales and/or the loss of potential licensing revenue.
       Finally, as to Defendants’ assertion that the motion for permanent injunction was filed
without a meet and confer, Plaintiff made several reasonable attempts to meet and confer.
Counsel for Plaintiff reached out to counsel for Defendants and stated as follows:
        We know you have moved to withdraw but wanted to let you know that we intend to file
two separate motions before the February 6 hearing date…. Both involve subject-matter we have
been discussing over the last two months but since we are now filing the motions we will need to
include the 7.1.1 certification. Unless you think there is some chance you can get a response
from your client on these issues, then I am thinking I will just include a certification that says we
have tried to resolve these issues but have not been able to. Let me know your thoughts.



                                       1000 N. West St., Suite 1500
                                             P.O. Box 1680
                                       Wilmington, DE 19899-1680
                                     T 302.984.3800 F 302.984.3939

                                         www.coochtaylor.com
Case 1:21-cv-00091-RGA Document 275 Filed 01/26/24 Page 2 of 2 PageID #: 17054

The Honorable Richard G. Andrews                                     Cooch and Taylor P.A.
January 26, 2024
Page 2



        Counsel also reached out to Ms. Farnan by phone and left a message asking for a meet
and confer. Counsel did not respond to either request. In any event, a substantive meet and
confer would have been futile in light of Defendants’ failure to respond to any of Plaintiff’s prior
post-trial communications concerning the subject matter of the motion and in light of the
apparent breakdown of the relationship between Defendants and their counsel.
                                                     Respectfully submitted,
                                                     /s/ Blake A. Bennett

                                                     Blake A. Bennett (#5133)

BAB:cls
cc:   All counsel of record (via CM-ECF)
